AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             __________   District
                                             Eastern District      of __________
                                                              of North Carolina


                         Dijon Sharpe                          )
                             Plaintiff                         )
                                v.                             )      Case No.     4:19-cv-00157
           Winterville Police Department et al.                )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Dijon Sharpe, the Plaintiff.                                                                                 .


Date:          11/04/2019                                                               /s/ T. Greg Doucette
                                                                                         Attorney’s signature


                                                                               T. Greg Doucette, NC Bar No. 44351
                                                                                     Printed name and bar number


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